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 NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                              :
 BLACK BOX CORPORATION,                       :
                                              :
                       Plaintiff,             :      Civ. No. 07-6161 (GEB)
                                              :
                v.                            :      MEMORANDUM OPINION
                                              :
 AVAYA, INC.,                                 :
                                              :
                       Defendant.             :
                                              :

 BROWN, Chief Judge

        This matter comes before the Court upon the motion of plaintiff Black Box Corporation

 (“Black Box”) for leave to file a Second Amended Complaint against defendant Avaya, Inc.

 (“Avaya”). [Docket No. 39] This Court has jurisdiction over this matter pursuant to 28 U.S.C.

 §§ 1331, 1337. The Court has considered the parties’ submissions and decided the matter

 without oral argument pursuant to Federal Rule of Civil Procedure 78. For the reasons set forth

 below, this Court will grant in part and deny in part Black Box’s Motion.

 I.     BACKGROUND

        A.      Procedural History1

        This suit began on December 31, 2007 when Black Box filed a complaint against Avaya.

 The case was reassigned to the undersigned on January 14, 2008.2


        1
        The facts of this case are fully set forth in this Court’s Memorandum Opinion entered on
 August 29, 2008 [Docket No. 59]. Familiarity with such facts and terms defined therein is
 assumed.
        2
         Parties sought transfer because this Court was already “presiding over a pending case,
 Avaya Inc. v. Telecom Labs, Inc., 06-cv-2490 (GEB), that involves claims against Avaya that
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                1.      The Amended Complaint

        On March 24, 2008, Black Box filed the Amended Complaint and Jury Demand

 (“Amended Complaint”). In the Amended Complaint, Black Box asserts eight causes of action:

 (1) Monopolization in violation of Section 2 of the Sherman Act; (2) Conspiracy to Monopolize

 in Violation of Section 2 of the Sherman Act; (3) Attempted Monopolization in Violation of

 Section 2 of the Sherman Act; (4) Tying in Violation of Section 1 of the Sherman Act; (5) Illegal

 Conspiracy in Violation of Section 1 of the Sherman Act; (6) Tortious Interference with

 Business/Contractual Relations; (7) Tortious Interference with Prospective Business or Economic

 Advantage; and (8) Equitable Estoppel.

                        a.     PBX-related Claims

                               (1)     Sherman Act Section 2 Claims

        The Amended Complaint alleged that Avaya has monopolized, conspired to monopolize

 and attempted to monopolize the relevant market consisting of “post-warranty service and

 maintenance for Definity and other ECG Platform equipment, including the submarkets for the

 provision of service and maintenance and the sale of maintenance contracts [in] the United

 States.” (Am. Compl. at ¶ 290.) The Amended Complaint stated that there are “no reasonably

 interchangeable substitutes for the service and maintenance of . . . Avaya Definity equipment or

 [the] purchase of maintenance contracts.” (Id.) Black Box also alleged that “[d]issatisfied Avaya

 PBX owners . . . . are ‘locked into’ their PBX purchases” due to “extremely high switching costs



 arise out of the same set of facts and events. Among other things, the Telecom Labs case
 involves Counterclaims, including those under the federal antitrust laws, that are nearly identical
 to the Complaint in the Black Box case.” (Letter from Robert T. Egan, Jan. 9, 2008, Docket No.
 6 at 1.)

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 . . . and . . . the PBX’s extremely long useful life.” (Id. at ¶ 291.) Moreover, the Amended

 Complaint stated that “customers were not, at the time they purchased their systems, able to

 accurately predict the life-cycle cost of their system and compare it to the cost of purchasing a

 competitor’s system.” (Id. ¶ 292.)

        Black Box asserted that Avaya has “at least 60 percent” of the market share in the

 relevant market and so has market power due to this market share, its control over the logins,

 parts and upgrades, its proven ability to exclude third party servicers and its ability to charge

 supra-competitive prices. (Id. at ¶¶ 294-95.) Allegedly, Avaya’s monopoly power was acquired

 and maintained through intentional exclusionary conduct, including “tying and bundling

 maintenance to crucial patches and upgrades; threatening customers who use, or are considering

 using, Black Box’s maintenance services; and constantly shifting its policies with regard to

 customers and ISPs’ ability to access the customers’ Avaya systems, the pricing of access to

 logins needed to self-maintain their products, and the customers’ use of independent,

 ‘unauthorized,’ maintenance providers.” (Id. at ¶ 297.)

        With respect to the attempt to monopolize claim, Black Box alleged that “Avaya

 specifically intends to eliminate or foreclose competition in the Relevant Markets through the

 tactics described above.” (Id. at ¶ 318.) The Amended Complaint stated that “[a]bsent action by

 this Court . . . there is a dangerous probability that Avaya will succeed in obtaining a monopoly

 in the Relevant Markets.” (Id. at ¶ 322.)

        With respect to the conspiracy to monopolize claim, Black Box alleged that “Avaya’s

 conduct . . . has been undertaken not only individually but also in concert with, and pursuant to

 agreements with, its co-conspirator BusinessPartners.” (Id. at ¶ 310.) The Amended Complaint


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 stated that “Avaya’s and its co-conspirators’ monopoly power” is evidenced by their collective

 market share, which is “over 90% of sales in the relevant market.” (Id.)

                        b.         Tying in Violation of Sherman Act Section 1

        The Amended Complaint stated that “[t]he provision of maintenance and service for

 Avaya Definity and other ECG Platform equipment (including software) . . . is a separate product

 from patches and upgrades for Avaya Definity and other ECG Platform equipment” and that

 “Avaya has conditioned the purchase or receipt of patches and upgrades . . . on the purchase of

 service and maintenance.” (Id. at ¶¶ 326, 328.) Further, Black Box contended that “Avaya is the

 only source for patches and upgrades for Avaya Definity telecommunications systems.” (Id. at ¶

 329.) Further, Black Box argued that the patches and upgrades “are the only way for systems

 owners to keep their systems functioning properly and at a state-of-the-art level.” (Id.)

 According to the Amended Complaint, “Avaya has told customers that if they obtain

 maintenance or services from ISPs . . . Avaya will not provide or sell them these crucial patches

 and upgrades.” (Id. at ¶ 328.) This “forc[es] customers to choose Avaya maintenance and

 service over that of lower cost or better quality ISPs.” (Id. at ¶ 329.) Black Box asserted that

 “[b]ecause it possesses market power in [patches and upgrades], Avaya’s tying is unlawful per

 se.” (Id. at ¶ 331.) Moreover, the Amended Complaint stated that the tying is also unlawful

 under the rule of reason. (Id.)

                        c.         Illegal Conspiracy in Violation of Sherman Act Section 1

        Black Box alleged that, in violation of Section 1, “Avaya has orchestrated a horizontal

 conspiracy involving certain of its BusinessPartners, distributors of certified Avaya parts, and

 others to allocate the maintenance and service business of Definity owners, to restrict the output


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 of available maintenance and service, and, as a result, to fix and raise the prices of maintenance

 and service paid by owners.” (Id. at ¶ 336.) Black Box asserted that this is a per se illegal

 conspiracy, and is also illegal under the rule of reason. (Id. at ¶¶ 337-38.)

                2.      Avaya’s Motion to Dismiss3

        On April 25, 2008, Avaya filed a motion to dismiss certain claims asserted in the

 Amended Complaint. [Docket No. 21.] In a Memorandum Opinion and Order entered August 29,

 2008 [Docket No. 37] (“Memorandum Opinion”), this Court granted in part and denied in part

 Avaya’s motion.

                        a.      PBX-related Claims

                                (1)     Relevant Market

        The Court held that Black Box had sufficiently pled a plausible relevant market.

 (Mem. Op. at 16-22.) The Court noted that “[t]he [Amended] Complaint states that the relevant

 product market for the antitrust claims is “the post-warranty service and maintenance for Definity

 systems . . . , including the submarkets for the provision of service and maintenance and the sale

 of maintenance contracts.” (Id. at 17 (citing Am. Compl. at ¶ 290.)) The Court then held that “it

 is plausible that when purchasing an Avaya PBX system, the purchasers relied on using the ISPs’

 allegedly lower cost and higher quality service and maintenance.” (Id. at 21.) The Court further



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          In its motion to dismiss, Avaya contended that the antitrust claims at issue in this case
 “are virtually identical to antitrust counterclaims asserted by Telecom Labs, Inc. and Continuant
 Technologies, Inc. in Avaya Inc. v. Telecom Labs, Inc., No. 3:06-cv-2490 (the ‘TLI case’).”
 (Avaya’s Br. in Support of Motion to Dismiss at 2.) Thus, Avaya contended that the claims
 “should be dismissed [for] much the same . . . reasons Avaya explained” in its brief in the TLI
 case. (Id.) The Court agreed that the claims in the instant case were virtually identical to
 counterclaims asserted in the TLI case. Therefore, the Court disposed of the claims in a similar
 manner.

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 held that it is plausible that when Avaya made changes to its policies in March 2005 regarding

 MSP usage so as to make it cost prohibitive for the Definity system owners to use an ISP in this

 manner, Avaya was making a policy change that targeted “locked-in” Definity system owners

 and in so doing violated antitrust law. (Id.)

                                 (2)     Section 2 Monopolization

         The Court denied Avaya’s motion with respect to the claims asserting monopolization.

 (Id. at 23-26.) Quoting Eastman Kodak Co. v. Image Tech. Services, Inc., 504 U.S. 451, 483 n.

 32 (1992), the Court reasoned that while “‘[i]t is true that as a general matter a firm can refuse to

 deal with its competitors . . . such a right is not absolute; it exists only if there are legitimate

 competitive reasons for the refusal.’” (Id. at 23-24 (internal citation omitted.)) As such, the Court

 held that Black Box had alleged facts sufficient to survive a motion to dismiss with respect to

 whether Avaya had a legitimate business justification for excluding ISPs from the market for

 service and maintenance of Definity systems. (Id. at 24-25.)

                                 (3)     Section 2 Attempted Monopolization

         Noting that Avaya’s only argument with respect to this claim was that Black Box failed to

 allege a plausible relevant market and having previously dispensed of this assertion, the Court

 also denied Avaya’s motion with respect to the attempted monopolization claims. (Id. at 25.)

                                 (4)     Section 2 Conspiracy to Monopolize

         With respect to the claims alleging that Avaya had conspired to monopolize with

 its BusinessPartners, the Court granted Avaya’s motion, holding that Black Box had not

 alleged facts sufficient to support a finding that the BusinessPartners had a specific intent to

 monopolize. (Id. at 25-27.)


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                                (5)     Section 1 Tying Claim

        This Court also granted Avaya’s motion to dismiss the claims relating to tying in

 violation of Section 1 of the Sherman Act, in which Black Box alleged that “Avaya has

 conditioned the purchase or receipt of patches and upgrades for Definity . . . equipment (the

 ‘tying products’) on the purchase of service and maintenance for Definity systems, (the

 ‘tied products’).” (Id. at 27 (quoting Am. Compl. at ¶ 334).) In so doing, the Court held that: (1)

 Black Box had not alleged facts to support a plausible relevant market encompassing the two

 tying products, patches and upgrades; (2) Black Box had defined patches and upgrades

 differently; (3) and therefore there is no indication that they are reasonably interchangeable. (Id.

 at 28-29.)

                                (6)     Illegal Conspiracy in Violation of Section 1

        The Court also addressed Black Box’s Section 1 conspiracy claim, which

 alleged that Avaya had “orchestrated a horizontal conspiracy involving certain of its

 BusinessPartners, distributors or certified Avaya parts, and others to allocate the maintenance and

 service business of Definity owners, to restrict the output of available maintenance and service

 and, as a result, to fix and raise the prices of maintenance and service paid by owners.” (Id. at 29

 (quoting Am. Compl. at ¶ 336.)) Black Box argued that this was a per se illegal conspiracy, but

 that in the event the Court concludes that it is not per se unlawful, it is nevertheless an illegal

 conspiracy under the rule of reason. (Id. at 29 (quoting Am. Compl. at ¶ 337.))

        The Court rejected Avaya’s argument that the alleged conspiracy should be treated as a

 per se violation, reasoning that the alleged restraint involves not only a dual distributor

 relationship between the dealers in the PBX system sales market, but also a horizontal


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 arrangement in the service and maintenance aftermarket. (Mem. Op. at 31-34.) In so holding,

 the Court noted that it had not found any Third Circuit cases that involve both a dual distributor

 arrangement in a primary market and a horizontal relationship in a plausible relevant aftermarket.

 (Id. at 32.) However, the Court stated that, in Dimidowich v. Bell & Howell, 803 F.2d 1473 (9th

 Cir. 1986), the Ninth Circuit held that the alleged conspirators were in a “hybrid” arrangement

 composed of both a dual distributorship and a horizontal relationship. (Id. (citing Dimidowich,

 803 F.2d at 1480-81.)) The Court then noted that, in Dimidowich, the Court reasoned that it did

 “‘not have enough experience with [hybrid] arrangement[s] to say with any confidence that a

 concerted refusal to deal in this context almost always will be anticompetitive’” and so

 concluded that “‘[b]ecause of the vertical element of the alleged ‘hybrid’ agreement, the

 restriction in the service market may well result in the same type of significant procompetitive

 effects in the product market as do restrictions in the context of a dual distributorship’” and

 therefore a rule of reason analysis would be appropriate. (Mem. Op. at 32 (citing Dimidowich,

 803 F.2d at 1481.))

        Turning to the instant case, the Court agreed with the reasoning in Dimidowich, noting

 that there was a dual distributor arrangement in the market for PBX systems and a horizontal

 relationship in the service and maintenance aftermarket. (Mem. Op. at 32-33.) The Court further

 reasoned that, “[l]ike the Ninth Circuit, this Court does not have enough experience with this

 type of arrangement to say that it will almost always be anticompetitive.” (Id.) As such, the

 Court concluded that a rule of reason analysis was appropriate.

        The Court then rejected Avaya’s argument that the conspiracy allegations with respect to

 Avaya and its BusinessPartners are not sufficiently particularized but also held that, to the extent


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 Black Box alleged the conspiracy extends to parties other than Avaya and its BusinessPartners,

 the claim is dismissed. (Id. at 34-35.)

                  3.      The Instant Motion

        Black Box asserts that, pursuant to the parties’ agreement during a January 14, 2009

 status conference before Magistrate Judge John J. Hughes, counsel for Black Box sent Avaya’s

 counsel a redlined draft of Black Box’s Proposed Second Amended Complaint by email dated

 January 16, 2009 (“Proposed Amended Complaint”). (Black Box’s Br. at 17 [Docket No. 39-2]

 (citing Decl. of Anthony P. LaRocco, Esq. (“LaRocco Decl.” at Exh. C [Docket No. 39-3]).)

        Black Box alleges that Avaya’s counsel responded by e-mail on January 23, 2009, stating

 that Avaya did not object to Black Box’s reassertion of claims asserted in the Amended

 Complaint that had not yet been dismissed or that were not the subject of Avaya’s motion to

 dismiss, and that it did not object to the inclusion of Black Box’s proposed new state law claim

 for Breach of the Covenant of Good Faith and Dealing,4 but declined to consent to the reassertion

 of claims that the Court has already dismissed. As such, Black Box filed the instant motion on

 February 23, 2009, seeking leave to amend its complaint. The matter was fully briefed as of

 March 30, 2009.

        B.        The Proposed Amended Complaint

        Black Box states that is seeks leave to amend its complaint for two reasons: (1) to “cure

 the deficiencies cited by the Court in its Memorandum Opinion”; and (2) “to assert a new state

 law claim against Avaya, alleging breach of the covenant of good faith and fair dealing.” (Black

 Box’s Br. at 1.) As such Black Box asserts that the Proposed Amended Complaint otherwise


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            Avaya does not dispute this. (Avaya’s Opp. at 1 n. 1 [Docket No. 40].)

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 re-pleads, in substantially identical form, those causes of action that this Court declined to

 dismiss in the Memorandum Opinion, namely: (1) the Section 2 monopolization and attempted

 monopolization claims; (2) the Section 1 illegal conspiracy claim; and (3) its various state law

 claims. (Id. at 9.) Black Box also asserts that it does not seek to re-plead the Section 2

 conspiracy to monopolize claim, which the Court dismissed in its Memorandum Opinion. (Id.)

                1.      The Re-pleaded Claims- Per Se Allegations in Section 1 Illegal
                        Conspiracy Claims

        Black Box seeks to re-plead its claim alleging that Avaya has engaged in an illegal

 conspiracy under Section 1 of the Sherman Act by “orchestrat[ing] a horizontal conspiracy

 involving certain of its BusinessPartners, distributors of certified Avaya parts, and others to

 allocate the maintenance and service business of Definity owners, to restrict the output of

 available maintenance and service, and, as a result, to fix and raise the prices of maintenance and

 service paid by owners.” (Prop. Am. Compl at ¶ 344. (attached as Exh. A to LaRocco Decl.))

 As such, Black Box also reasserts that such actions constitute a per se illegal conspiracy, or in the

 alternative, an unlawful restraint on trade under the rule of reason. (Id. at ¶¶ 445-46.)

                2.      The Revised Claims- Section 1 Tying Claims

        Black Box also seeks to amend the Amended Complaint in so far as it alleges that Avaya

 engaged in tying in violation of Section 1 of the Sherman Act. Black Box now asserts separate

 and distinct causes of action for tying of patches to maintenance and the tying of upgrades to

 maintenance. (Id. at ¶¶ 318-342)

                        a.      Section 1 Tying Claims- Patches

        With respect to patches, Black Box states that “[t]he provision of maintenance and



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 service for Definity . . . equipment (including software) is a separate product from patches for

 Definity . . . equipment” and that “Avaya has conditioned the purchase or receipt of patches for

 Definity and other ECG Platform equipment (the ‘tying products’) on the purchase of service and

 maintenance for Definity . . . equipment (the ‘tied products’) from Avaya and its

 BusinessPartners.” (Id. at ¶¶ 320, 323.) Black Box further alleges that “Avaya has told

 customers that if they obtain maintenance or service from ISPs classified by Avaya as

 ‘unauthorized,’ Avaya will not provide or sell them these patches.” (Id. at ¶ 323.) Black Box

 asserts that this conditioning represents a change in Avaya’s earlier policy of not imposing such

 restrictions and therefore Avaya systems purchasers could not have taken this tying into account

 when assessing the life-cycle cost of purchasing an Avaya system. (Id. at ¶ 324.) Black Box also

 asserts that Avaya is the only source for patches for the Definity systems. (Id. at ¶ 325.)

        Black Box also avers that patches vary in importance, with some being system critical,

 i.e. necessary for the proper functioning of the Avaya systems, while others are simply “uniquely

 desirable for the performance of optional Avaya systems functions.” (Id. at ¶ 326.) Black Box

 alleges that, “[b]ecause locked-in systems-owners desire to keep their systems functioning

 properly, and cannot reasonably anticipate whether their future need for patches will be system

 critical or non-system critical, locked-in systems-owners are compelled to purchase service and

 maintenance from Avaya or one of its chosen BusinessPartners.” (Id.) As such, Black Box

 states that Avaya “has market power in these products sufficient to coerce a substantial

 percentage of owners of Avaya Definity . . . equipment to purchase service and maintenance

 from Avaya or one of its chosen BusinessPartners”, thereby effectively distorting and/or

 eliminating competition in the relevant markets by forcing customers to choose Avaya


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 maintenance and service over lower cost and/or better quality maintenance and service offered by

 ISPs. (Id.) Thus, Black Box alleges that Avaya’s possession of market power in the tying

 products constitutes a per se violation or, in the alternative, is unlawful under the rule of reason.

 (Id. at ¶ 328.)

                        B.      Section 1 Tying Claims- Upgrades

         Black Box makes similar allegations with respect to upgrades. Specifically, Black Box

 again alleges that “[t]he provision of maintenance and service for Definity . . . equipment

 (including software) is a separate product from upgrades for Definity . . . equipment” and that

 “Avaya has conditioned the purchase of upgrades for Definity and other ECG Platform

 equipment (the ‘tying products’) on the purchase of mandatory software support –or maintenance

 –for Definity and other ECG Platform equipment (the ‘tied products’).” (Id. at ¶¶ 333, 335.)

 Similarly, Black Box alleges that “Avaya has told customers that, in order to purchase an upgrade

 to Avaya’s latest release of PBX telecommunications software, the customer must purchase

 mandatory software support from Avaya.” (Id. at ¶ 335.) Black Box alleges that, as with patches,

 this reflects a change in Avaya’s earlier policy and therefore most Avaya systems purchasers

 could not have taken the change in account when assessing the life-cycle costs of purchasing an

 Avaya system. (Id. at ¶ 336.) Similarly, Black Box also alleges that Avaya is the only source for

 upgrades for Definity telecommunications systems and that there are no substitutes for these

 upgrades. (Id. at ¶ 337.)

         Black Box further asserts that “[u]pgrades are uniquely desirable and are critical for

 locked-in systems owners seeking to maximize the life of their Avaya PBX platforms and

 equipment at state-of-the-art levels.” (Id. at ¶ 338.) Black Box states that Avaya “seeks to force


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 customers to consider purchasing software upgrades by making announcements about Avaya’s

 end-of-life and/or end-of-support of older software versions, including announcements that, over

 time, Avaya would cease support for customers with older versions of its software.” (Id.)

 Therefore, Black Box contends that Avaya the has market power in these products sufficient to

 coerce a substantial percentage of owners of Avaya Definity equipment to purchase service and

 maintenance from Avaya and that this tying has the effect of distorting and/or eliminating

 competition in the relevant markets by forcing its customers to choose Avaya maintenance and

 service over lower cost and/or better quality maintenance and service offered by ISPs. (Id.) Thus,

 Black Box asserts that Avaya’s possession of market power in these tying products also

 constitutes a per se violation or, in the alternative, is unlawful under the rule of reason. (Id. at ¶

 340).

 II.     DISCUSSION

         A.     Standard of Review

         Federal Rule of Civil Procedure 15(a)(2) provides that, under the present circumstnaces,

 “a party may amend [its] pleading only with the opposing party’s written consent or the Court’s

 leave. The Court should freely give leave when justice so requires.” The Supreme Court has

 identified several factors to be considered when applying Rule 15(a):

              If the underlying facts or circumstances relied upon by a plaintiff may
              be a proper subject of relief, he ought to be afforded an opportunity to
              test his claim on the merits. In the absence of any apparent or declared
              reason--such as undue delay, bad faith or dilatory motive on the part of the
              movant, repeated failure to cure deficiencies by amendments previously
              allowed, undue prejudice to the opposing party by virtue of allowance of
              the amendment, futility of amendment, etc.--the leave sought should, as the
              rules require, be “freely given.”



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 Foman v. Davis, 371 U.S. 178, 182 (1962); see also Heyl & Patterson Int'l, Inc. v. F.D. Rich

 Housing of the Virgin Islands, Inc., 663 F.2d 419, 425 (3d Cir. 1981), cert. denied, 455 U.S.

 1018 (1982); Newlin v. Invensys Climate Controls, Civ. No. 05-5746 (RBK), 2006 U.S. Dist.

 LEXIS 61133, (D.N.J. August 16, 2006); Long v. Wilson, 393 F.3d 390, 400 (3d Cir. 2004);

 Alvin v. Suzuki, 227 F.3d 107, 121 (3d Cir. 2000); Arthur v. Maersk, Inc., 434 F.3d 196, 204-05

 (3d Cir. 2006) (stating that “leave to amend must generally be granted unless equitable

 considerations render it otherwise unjust.”)

         Thus, while “Rule 15(a) gives the court extensive discretion to decide whether to grant

 leave to amend after the time for amendment as of course has passed,” CHARLES ALAN WRIGHT

 ET AL., FEDERAL PRACTICE AND      PROCEDURE : CIVIL 2D § 1486 (2d ed. 1990), Rule 15(a)’s

 “generous standard is tempered by the necessary power of a district court to manage a case” in

 light of the factors listed in Foman. See Shivangi v. Dean Witter Reynolds, Inc., 825 F.2d 885,

 891 (5th Cir. 1987).

         With respect to futility, “[it is] clear that an amendment would be futile when ‘the

 complaint, as amended, would fail to state a claim upon which relief could be granted.’” In re

 NAHC, Inc. Sec. Litig., 306 F.3d 1314, 1332 (3d Cir. 2002) (quoting In re Burlington Coat

 Factory Sec. Litig., 114 F.3d 1410, 1434 (3d Cir. 1997); see also Harrison Beverage Co. v.

 Dribeck Imps., Inc., 133 F.R.D. 463, 468 (D.N.J. 1990), reasoning that an amendment is futile if

 it “is frivolous or advances a claim or defense that is legally insufficient on its face,” (citations

 and quotations omitted).) As such, “[i]n assessing ‘futility,’ the district court applies the same

 standard of legal sufficiency as applies under Rule 12(b)(6).” Burlington, 114 F.3d at 1434

 (citing Glassman, 90 F.3d at 623) (further citation omitted)).


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        B.      Sherman Act

                1.      Section 1

        Section 1 of the Sherman Act prohibits “[e]very contract, combination in the form of trust

 or otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with

 foreign nations.” 15 U.S.C. § 1. “To establish a violation of Section 1, a plaintiff must prove:

 (1) concerted action by the defendants; (2) that produced anti-competitive effects within the

 relevant product and geographic markets; (3) that the concerted actions were illegal; and (4) that

 it was injured as a proximate result of the concerted action.” Gordon v. Lewistown Hosp., 423

 F.3d 184, 207 (3d Cir. 2005).

        To determine whether a particular action unreasonably restrains trade, courts have applied

 one of two different methods of analysis: (1) the per se rule; and (2) the rule of reason. Under

 the per se rule, certain categories of restraints are simply presumed to be unreasonable and no

 elaborate inquiry is necessary. See, e.g., Business Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S.

 717, 723 (1988) (“per se rules are appropriate only for ‘conduct that is manifestly

 anticompetitive’”) (quoting Continental T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 50 (1977)).

 On the other hand, the rule of reason, which is the “prevailing standard,” ordinarily requires the

 Court to engage in a detailed analysis of the effect that the restraint has on competition in a

 relevant market. See Sylvania Inc., 433 U.S. at 49 (holding that the rule of reason typically

 requires a detailed examination “in light of the competitive situation in ‘the product market as a

 whole’”); United States v. Brown Univ., 5 F.3d 658, 672 (3d Cir. 1993) (holding that the rule of




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 reason “ordinarily requires a detailed inquiry into the market impact of a restraint”).5

                2.      Section 2

        Section 2 of the Sherman Act provides as follows:

        Every person who shall monopolize, or attempt to monopolize, or combine or
        conspire with any other person or persons, to monopolize any part of the trade or
        commerce among the several States, or with foreign nations, shall be deemed
        guilty of a felony, and, on conviction thereof, shall be punished by fine not
        exceeding $100,000,000 if a corporation, or, if any other person, $1,000,000, or
        by imprisonment not exceeding 10 years, or by both said punishments, in the
        discretion of the court.

 15 U.S.C. § 2. The “right to maintain a private cause of action for damages arising under Section

 2 of the Sherman Act flows from Section 4 of the Clayton Act.” Schuylkill Energy Resources,

 Inc. v. Pennsylvania Power & Light Co., 113 F.3d 405, 413 (3d Cir. 1997). Section 4 of the

 Clayton Act provides, in relevant part, that “any person who shall be injured in his business or

 property by reason of anything forbidden in the antitrust laws may sue therefor in any district

 court of the United States in the district in which the defendant resides or is found or has an

 agent.” 15 U.S.C. § 15(a).

        To state a claim for monopolization under Section 2, a party must allege facts sufficient

 to show: “(1) the possession of monopoly power in a relevant market and (2) the willful



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          “[A] third standard that falls somewhere between the rule of reason and per se standards”
 is the “quick look” rule of reason. Rossi v. Standard Roofing, Inc., 156 F.3d 452, 461 n.6 (3d
 Cir. 1998). This method “applies in cases where per se condemnation is inappropriate but where
 no elaborate industry analysis is required to demonstrate the anticompetitive character of an
 inherently suspect restraint.” Gordon, 423 F.3d at 209-210 (citing Brown Univ., 5 F.3d at 669).
 Under the “quick look” method, “the competitive harm is presumed and the defendant must set
 forth some competitive justification for the restraints.” Id. at 210. “[T]he quick look approach
 may be applied only when an observer with even a rudimentary understanding of economics
 could conclude that the arrangement in question would have an anticompetitive effect on
 customers and markets.” Id.

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 acquisition or maintenance of that power as distinguished from growth or development as a

 consequence of a superior product, business acumen, or historical accident.” Eastman Kodak

 Co. v. Image Technical Services, Inc., 504 U.S. 451, 481 (1992) (citing United States v. Grinnell

 Corp., 384 U.S. 563, 570-71 (1966)).

        To state a claim for attempted monopolization, a party must allege facts sufficient to

 show: (1) predatory or anticompetitive conduct; (2) specific intent to monopolize; and (3) a

 dangerous probability of achieving monopoly power. Spectrum Sports v. McQuillan, 506 U.S.

 447, 456 (1993); Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 442 (3d Cir.

 1997). “In order to determine whether there is a dangerous probability of monopolization, courts

 have found it necessary to consider the relevant market and the defendant’s ability to lessen or

 destroy competition in that market.” Spectrum Sports, 506 U.S. at 456.

        C.      Application

                2.     The Re-pleaded Claims- Per Se Allegations in Section 1 Illegal
                       Conspiracy Claims

        Black Box seeks to re-plead its claim alleging that Avaya has engaged in an illegal

 conspiracy under Section 1 of the Sherman Act, including that such actions constitute a per se

 illegal conspiracy. (Prop. Am. Compl. at ¶¶ 343-48.) In so doing, Black Box argues that “[t]he

 Court merely found that it was appropriate to analyze Avaya’s motion to dismiss that claim under

 the Rule of Reason standard rather than the per se rule because the Court lacked experience with

 the type of arrangement under consideration (a dual distributor arrangement in the market for the

 PBX system and a horizontal relationship in the service and maintenance aftermarket) to

 conclude that such an arrangement would almost always be anticompetitive under the per se



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 rule.” (Black Box’s Br. at 15 (citing (Mem. Op. at 32-33)). Black Box notes this Court’s

 reliance on Dimidowich and argues that such citation does not dictate a contrary conclusion

 because Dimidowich was decided at the summary judgment stage, not the pleading stage. (Id. at

 16 (citing Dimidowich, 803 F.3d at 1476).) Further, Black Box notes that, in Dimidowich, the

 court held that “one justification for rule of reason analysis of restrictions in the context of a dual

 distributorship is that they provide corresponding benefits in the interbrand market,” and that, in

 the instant case, there is no reason to infer that the dual distributorship arrangement will

 automatically confer a procompetitive benefit in the interbrand market for service and

 maintenance of Avaya systems because, in addition to the dual distributorship arrangement,

 Black Box has also alleged horizontal restraints involving agreements between Avaya and its

 BusinessPartners to restrain competition in the service and maintenance aftermarket. (Id. at 16

 (citing Dimidowich, 803 F.3d at 1481.)) In light of the foregoing, Black Box argues that the

 Court should not deny them the opportunity to pursue this alternative theory of per se liability

 under Section 1 before discovery has concluded. (Id. at 17.)

         Avaya argues that Black Box should not be permitted to reassert these allegations of per

 se liability because, in the Memorandum Opinion, the Court held that Black Box could not

 pursue this claim and that, because Black Box had failed to seek reconsideration of the Court’s

 ruling in a timely fashion, the Court’s ruling on the issue should not be disturbed. (Avaya’s Opp.

 at 5-6) Avaya further argues that, even if Black Box had moved for reconsideration of the

 court’s ruling in a timely fashion, their request would have been denied because they cannot

 show that: (1) new evidence is available; (2) supervening new law has been announced; or (3) the

 Court’s decision was clearly erroneous and would create manifest injustice. (Id. at 5 (citing In re

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 Ins. Brokerage Antitrust Litig,, No. MDL 1663, 2007 U.S. Dist. LEXIS 64767, at *53 (D.N.J.

 Aug. 31, 2007) (internal citations omitted.))

        Avaya further argues that Black Box’s arguments that the Court did not dismiss the per se

 claims are specious. Avaya argues that Black Box misconstrues the Court’s language regarding

 its experience with dual distributorships, thereby ignoring Supreme Court precedent that “the per

 se rule is appropriate only after courts have had considerable experience with the type of restraint

 at issue, and only if the courts can predict with confidence that it would be invalidated in all or

 almost all instances under the rule of reason.” (Avaya’s Opp. at 6-7 (quoting Leegin Creative

 Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877, 886-87 (2007) (intenal citations omitted)).)

 Avaya further asserts that Black Box’s argument that Dimidowich is distinguishable because it

 was decided at the summary judgment stage is not relevant to the inquiry into the appropriateness

 of the application of the per se rule as a matter of law and further notes that similar per se claims

 have been dismissed by other courts under Rule 12(b)(6). (Id. at 7 (citing Bedi v. Hewlett-

 Packard Co., 2008 U.S. Dist LEXIS 102672, at *1-*7 (D. Mass. Nov. 17, 2008); Spahr v.

 Treadway, 2008 U.S. Dist. LEXIS 90079, at *14-*22 (E.D. Tenn. Aug. 20, 2008)). Finally,

 Avaya also contends that Black Box asserts that Avaya must prove that any arrangement that

 Black Box challenge is on balance “pro-competitive” in order to avoid per se treatment. (Id. at 8

 (citing Leegin, 551 U.S. at 886 (“To justify a per se prohibition a restraint must have ‘manifestly

 anticompetitive’ effects.” (further citations omitted)).)

        The Court concludes that Black Box cannot continue to assert its per se claims with

 respect to its claims alleging an illegal conspiracy in violation of Section 1 because this Court

 held, as a matter of law, that the alleged conspiracy between Avaya and its BusinessPartners


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 should not be treated as a per se violation. (Mem. Op. at 32-33.) While it is true that the

 Memorandum Opinion does not explicitly state that Avaya’s motion to dismiss was granted with

 respect to Black Box per se claims, the Court nevertheless clearly concludes that the “alleged

 conspiracy should not be treated as a per se violation” and instead “a Rule of Reason analysis is

 appropriate.” (Id.) This assessment is a legal conclusion, which cannot be disturbed under the

 law of the case doctrine, which instructs courts to adhere to decisions of law, once made,

 throughout the course of a case in the absence of “extraordinary circumstances.” See, e.g., In re

 City of Phila. Litig., 158 F.3d 711, 718 (3d Cir. 1998); United States v. Kikumura, 947 F.2d 72,

 77 (3d Cir. 1991). Such extraordinary circumstances include instances where: (1) new evidence

 is available; (2) supervening new law has been announced; or (3) the earlier decision was clearly

 erroneous and would create manifest injustice. City of Phila, 158 F.3d at 718 (further citations

 omitted). Here, Black Box does not allege the presence of any of these “extraordinary

 circumstances.” As such, the Court holds that Black Box’s motion for leave to amend is denied

 with respect to their per se claims asserted in the Proposed Amended Complaint alleging illegal

 conspiracy in violation of Section 1 of the Sherman Act.

                2.      The Revised Claims- Section 1 Tying Claims

        Black Box argues that the Court should permit it to amend the Amended Complaint in so

 far as it alleges that Avaya engaged in tying in violation of Section 1. Black Box asserts that

 these proposed amendments address and resolve the issues cited by the Court in its dismissal of

 the Section 1 Tying claims without prejudice in the Memorandum Opinion. (Black Box’s Br. at

 12 (quoting Borelli v. City of Reading, 532 F.2d 950, 951 (3d. Cir. 1976) (reasoning that a

 district court’s order dismissing a pleading, without prejudice, includes an “implicit invitation to


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 amplify the complaint,” even if the order does not mention amendment.)) Black Box asserts that

 it seeks to address the Court’s holding that they had failed to allege facts sufficient to support a

 plausible relevant market encompassing the two tying products: patches and upgrades. (Black

 Box’s Br. at 26 (citing Mem. Op. at 30).) Black Box notes that the Court held that Black Box

 had not alleged facts sufficient to support a plausible relevant market encompassing the two tying

 products: patches and upgrades (Black Box’s Br. at 12 (citing Mem. Op. at 28).)

        Black Box asserts that the Proposed Amended Complaint “makes clear that Avaya had

 tremendous market power over each of the two tying products at issue patches

 and upgrades” (Id. at 13 (citing Prop. Am. Compl. at ¶¶ 16, 17, 213, 262)).

        Black Box contends that the Proposed Amended Complaint also alleges that: (1) Avaya

 has “tremendous market power” over both patches and upgrades because Avaya is the only

 source for patches and upgrades for such Avaya PBX systems; (2) by virtue of its market power

 over these products, Avaya has been effective at coercing a significant number of Avaya PBX

 owners to purchase service and maintenance from Avaya and/or its BusinessPartners (for

 patches) or software support or maintenance from Avaya (for upgrades); (3) the product markets

 for each of these products are separate and distinct from the product market for maintenance and

 service of Avaya systems; and (4) there is sufficient customer demand that Avaya can sell or

 furnish both produces separately from maintenance and service and that there is no

 countervailing technological reason that would require the products to be sold together. (Id. at

 13-14 (citing Prop. Am. Compl. at 15-17, 213, 262, 320, 323, 324, 333)).

                        a.      Patches

        In contrast, Avaya argues that Black Box should not be permitted to amend its Section 1


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 Tying Claims because such amendments fail to state a claim upon which relief could be granted

 and therefore are futile. (Avaya’s Opp. at 9 (citations omitted).) With respect to patches, Avaya

 argues that “Black Box’s principal complaint is that Avaya’s July 1, 2005 Service Bulletin

 provided that ‘Product Correction Notices (‘PCNs’) of a non-system critical nature would no

 longer be available without an Avaya maintenance contract.’” ((Id. at 11 (quoting Prop. Am.

 Compl. at ¶ 213 (emphasis added)).) Avaya argues that “[n]owhere does Black Box allege that

 Avaya PBX owners that deal with unauthorized service providers are denied access to

 ‘necessary’ patches, and the characterization of non-critical patches as ‘uniquely desirable’ does

 not alone elevate their antitrust significance.” (Id. at 12.) According to Avaya, because Black

 Box does not allege that Avaya limited access to “necessary” patches, their market definition

 fails because Black Box cannot plausibly assert that any PBX owner ever relied on unrestricted

 availability of non-critical patches when determining whether to purchase an Avaya PBX system.

 (Id. at 12-13.)

         Avaya further argues that these claims are futile because Black Box only alleges that

 Avaya PBX owners “reasonably believed,” based on Avaya’s prior practices, that they are

 entitled to non-critical patches regardless of whether they use an ISP to perform maintenance.

 (Id. at 13.) Avaya argues that “[w]hether or not any Avaya PBX ‘owner’ had the ‘belief’ that

 Black Box attribute to all ‘owners’ and whether or not this belief was ‘reasonable” are

 immaterial.” (Id.) Instead, Avaya contends, Black Box must assert “plausible allegations that the

 ‘owners’ relied on some assessment of the likelihood of the availability of desirable non-critical

 patches and somehow factored this assessment in their life cycle costing, or cost of ownership

 analysis, at the time of their Avaya PBX system purchases.” (Id. at 14-15 (emphasis in original).)


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        The Court concludes that Black Box has put forth sufficient allegations to state a claim

 upon which relief could be granted, and so the proposed claims relating to tying patches are not

 futile. Burlington, 114 F.3d at 1434. “Tying is defined as selling one good (the tying product) on

 the condition that the buyer also purchase another, separate good (the tied product).” Town Sound

 & Custom Tops, Inc. v. Chrysler Motors Corp., 959 F.2d 468, 475 (3d Cir. 1992) (en banc); see

 also Allen-Myland, Inc. v. International Business Machines Corp., 33 F.3d 194, 200 (3d Cir.

 1994). “The antitrust concern over tying arrangements is limited to those situations in which the

 seller can exploit its power in the market for the tying product to force buyers to purchase the tied

 product when they otherwise would not.” Queen City Pizza, 124 F.3d at 442-43 (quoting Town

 Sound, 959 F.2d at 475).

         “Even if a seller has obtained a monopoly in the tying product legitimately (as by

 obtaining a patent), courts have seen the expansion of that power to other product markets as

 illegitimate and competition suppressing.” Town Sound, 959 F.2d at 475. As such, tying requires

 “appreciable economic power” in the tying product market. Harrison Aire, Inc. v. Aerostar Int'l,

 423 F.3d 374, 385 (3d Cir. 2005) (citing Kodak, 504 U.S. at 464; Brokerage Concepts v. U.S.

 Healthcare, Inc., 140 F.3d 494, 516-17 (3d Cir. 1998)).

        “The first inquiry in any § 1 tying case is whether the defendant has sufficient market

 power over the tying product, which requires a finding that two separate product markets exist

 and a determination precisely what the tying and tied products markets are.” Queen City Pizza,

 124 F.3d at 443 (citing Allen-Myland, 33 F.3d at 200-201). Here, Black Box has alleged that

 “[t]he provision of maintenance and service for Definity . . . equipment (including software) is a

 separate product from patches for Definity . . . equipment” and that “Avaya has conditioned the


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 purchase or receipt of patches for Definity . . . equipment (the ‘tying products’) on the purchase

 of service and maintenance for Definity . . . equipment (the ‘tied products’) from Avaya and its

 BusinessPartners.” (Id. at ¶¶ 320, 323.) Further, Black Box has also put forth sufficient

 allegations that patches are a distinct and separate product from the provision of maintenance and

 service for Avaya PBX systems. (Id. at ¶ 321.) “There is sufficient consumer demand for

 maintenance and service of Avaya’s Definity . . . equipment so as to render it efficient for Avaya

 to sell or furnish separately patches for those systems on the one hand and the maintenance and

 service of that equipment on the other hand, and there is no technological reason why these

 products cannot be sold or provided separately.”) Black Box has also alleged that Avaya has

 market power over patches in that: (1) patches are only available from Avaya (i.e., that Avaya has

 a 100% market share); (2) patches are unique (i.e., there are no available substitutes); (3) they are

 uniquely desirable to ensure proper functioning of Avaya PBX systems; (4) Avaya has been

 successful in forcing locked-in customers to accede to the tie-in of patches to service and

 maintenance; and, (5) that those locked-in customers have, as a result, paid supra-competitive

 prices for service and maintenance inferior to that available from ISPs. (Id. at ¶¶ 16, 216, 325,

 326, 327.)

        Avaya’s arguments to the contrary are unavailing. As Black Box notes, it did not limit

 the aftermarket to non-critical patches as Avaya contends. (Avaya’s Opp. at 11-12.) Rather,

 Black Box alleges that the aftermarket includes both critical and non-critical patches. (Prop. Am.

 Compl. at ¶¶ 319, 326.) Further, such a distinction between critical and non-critical patches is

 immaterial. Black Box has alleged that locked-systems owners cannot reasonably anticipate

 whether their future need for patches will be system critical or non-system critical, and so are


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 compelled to purchase service and maintenance from Avaya or one of its chosen

 BusinessPartners and that this contributes to Avaya’s market power over the patches. (Id. at ¶

 326.) Additionally, even if the aftermarket were limited only to non-critical patches, the fact

 remains that Black Box has sufficiently alleged that Avaya PBX purchasers could not obtain

 these non-essential patches without also committing to purchases maintenance and service for

 their PBX systems from Avaya or its BusinessPartners.

        The Court also rejects as irrelevant Avaya’s argument that these claims are futile because

 Black Box failed to allege “plausible allegations” that Avaya PBX owners relied on and factored

 into their assessment of lifecycle costing of a PBX system the availability of critical and non-

 critical patches. (Avaya’s Opp. at 12-14.) As Black Box notes, Avaya has cited to no case law

 for the proposition that “[w]hether or not any Avaya PBX ‘owner’ had the ‘belief’ that Black

 Box attribute to all ‘owners’ and whether or not this belief was ‘reasonable” are immaterial.”

 (Black Box’ Rep. at 8; Avaya’s Opp. at 14-15.) The Court concludes that, at this stage, it is

 sufficient for Black Box to allege that Avaya’s prior practices with respect to the availability of

 patches would lead owners or end-users of Definity systems to reasonably believe that they are

 entitled to and will receive patches for the systems they have purchased from Avaya, irrespective

 of whether they use an ISP to perform maintenance. (See Prop. Am. Compl. at ¶ 215.)

        As such, Black Box’ motion for leave to amend is granted with respect to the claims in

 the Proposed Amended Complaint asserting Section 1 Tying violations with respect to patches.

                        b.      Upgrades

        With respect to upgrades of PBX systems, Avaya argues that Black Box “does not and

 cannot plausibly allege that, when deciding whether to purchase an Avaya PBX system, any


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 purchaser ever relied on the fact that it would in the future be able to obtain an upgrade to CM

 5.0 software without buying software support from Avaya.” (Avaya’s Opp. at 15.) As support,

 Avaya notes that Black Box alleges that, when Avaya released the CM 5.0 PBX system in late

 2007, it announced a new policy in which Avaya separated its offers for service and maintenance

 contracts for software versus hardware and required owners to purchase a software maintenance

 agreement from Avaya in order to obtain an upgrade to CM 5.0 or purchase CM 5.0 as part of a

 new systems sale. (Id. at 15-16 (citing Prop. Am. Compl. at ¶¶ 251, 253, 254).) Avaya further

 notes that Black Box points to the policy change that took place on July 1, 2005 to allege that a

 “Definity owner who uses an ISP for maintenance, including hardware is effectively prohibited

 from upgrading to CM 5.0, even if the Definity owner is willing to purchase [the software

 maintenance agreement].” (Avaya’s Opp. at 16. (quoting Prop. Am. Compl. at ¶ 257).) Avaya

 asserts that, in light of such allegations, it is unreasonable to infer that any customer relied on the

 fact that Avaya would release the CM 5.0 software upgrade without requiring the purchase of

 support at the time of purchasing an Avaya PBX because: (1) prior to late 2007, no PBX owner

 could have known that Avaya would release the CM 5.0 software upgrade; and (2) the policy

 change announced by Avaya in July 2005 occurred more than two years before Avaya released

 CM 5.0.. (Avaya’s Opp. at 16-17.) Thus, Avaya argues that there is no likelihood that an Avaya

 purchaser factored the costs of the CM 5.0 software upgrade in its lifecycle cost analysis. (Id. at

 17.)

        Avaya further asserts that Black Box alleges that Avaya also requires the purchase of CM

 5.0 software support in order to obtain an upgrade to CM 5.0 or to purchase that software as a

 part of a new systems sale. (Id. at 17-18 (citing Prop. Am. Compl. at ¶¶ 252-54).) Avaya argues


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 that it follows from this statement that “any requirement that the purchasers of a new CM 5.0

 system or the software upgrade also purchase Avaya software was implemented as a business

 strategy for the interbrand market, in which it competes with the other original equipment

 manufacturers (“OEMs”) in the sale of PBX systems.” (Avaya’s Opp. at 18.)

         Additionally, Avaya contends that Black Box’s proposed tying market of only CM 5.0

 software upgrades also fails because it does not include PBX systems manufactured by Avaya’s

 competitors and therefore “‘clearly does not encompass all interchangeable substitute products.’”

 (Avaya’s Opp. at 19 (quoting Queen City Pizza, 124 F.3d at 436).) Finally, Avaya contends that

 these claims are futile because “there is no tied product” since Black Box fails to sufficiently

 allege that software support for the upgrade is a relevant aftermarket separate from the upgrade

 itself or that Black Box can provide or has ever provided software to support the upgrade.

 (Avaya’s Opp. at 18). Avaya argues that Black Box’s assertion that Avaya will decline to

 provide software support to a purchaser of the CM 5.0 software upgrade under the July 1, 2005

 policy change is “no more than an assertion that Avaya’s alleged ‘policy change’ applies to its

 CM 5.0 PBX system and accompanying software- the core of Black Box’s monopolization

 claim.” (Id. at 19.)

         The Court concludes that Black Box has put forth sufficient allegations to state a claim

 upon which relief could be granted, and so the proposed claims relating to tying of upgrades in

 PBX systems is not futile. Burlington, 114 F.3d at 1434. As with its allegations with respect to

 patches, Black Box has alleged that “[t]he provision of maintenance and service for Definity . . .

 equipment (including software) is a separate product from upgrades for Definity . . . equipment”

 and that “Avaya has conditioned the purchase of upgrades for Definity . . . equipment (the ‘tying


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 products’) on the purchase of mandatory software support –or maintenance –for Definity . . .

 equipment (the ‘tied products’).” (Id. at ¶¶ 333, 335.) Further, Black Box has sufficiently

 asserted that Avaya has market power over upgrades in that Black Box alleges that: (1) upgrades

 are only available from Avaya (i.e., that Avaya also has a 100% market share over upgrades); (2)

 upgrades are unique (i.e., there are no available substitutes); (3) upgrades are critical in allowing

 systems owners to maximize the useful life of their systems; and (4) Avaya has been successful

 in coercing locked-in customers to accede to the tie-in of upgrades to service and maintenance.

 (Id. at ¶¶ 17, 262, 337, 338.)

        Avaya’s contentions that Black Box’s allegations do not sufficiently set forth that PBX

 owners relied on the future availability of software upgrades when deciding whether to purchase

 an Avaya PBX system is belied by the Proposed Amended Complaint. Specifically, Black Box

 alleges that “[u]ntil recently, Avaya has never refused to sell upgrades to customers of ISPs,” but

 that now Avaya has “shifted its policies regarding the conditions under which it would make

 these unique and desirable upgrades available.” (Prop. Am. Compl. at ¶ 17.) Further, Avaya’s

 argument that Black Box’s proposed tying market fails because it does not include PBX systems

 manufactured by Avaya’s competitors and therefore does not encompass all interchangeable

 substitute products is similarly unavailing because Black Box is asserting that Avaya PBX

 system owners are locked into using upgrades rather than replacing their systems and that this

 fact demonstrates that upgrades are a separate market in which Avaya has market power. (Id. at ¶

 17, 262, 337, 338.) As such, Black Box is alleging that there are no reasonably interchangeable

 products for upgrades, not for PBX systems. See Queen City Pizza, 124 F.3d at 436 (“The outer

 boundaries of a product market are determined by the reasonable interchangeability of use or the


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 cross-elasticity of demand between the product itself and substitutes for it.”) (internal citations

 omitted.)

        Similarly, the Court is not convinced by Avaya’s argument that Black Box has not alleged

 a tied product because it fails to sufficiently allege that software support for the upgrade is a

 relevant aftermarket separate from the upgrade itself or that Black Box can provide or have ever

 provided software to support the upgrade. (Avaya’s Opp. at 19). The Proposed Amended

 Complaint defines the tied product as the “provision of maintenance and service for Definity . . .

 equipment (including software)” and further states that “Black Box, like other ISPs, has provided

 and is capable of providing service and maintenance for Avaya PBX systems.” (Prop. Am.

 Compl. at ¶¶ 333-34.) As such, the Court grants Black Box’s motion as it relates to the claims

 alleging tying with respect to upgrades of PBX systems.

                3.      New State Law Claim- Breach of the Covenant of Good Faith and
                        Dealing

       As both parties note, Avaya consents to Black Box’s addition of this new state law claim

alleging breach of covenant of good faith and dealing. (Avaya’s Opp. at 1 n. 1; Black Box’s Br. at

19.) As such, Black Box’s motion with respect to this claim is also granted.




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III.   CONCLUSION

        For the foregoing reasons, Black Box’s motion for leave to file an amended complaint is

 granted in part and denied in part. Specifically, the Court grants Black Box’s motion in all

 respects except for the reassertion of the allegations of per se violations with respect to the

 Section 1 illegal conspiracy claims in the Proposed Amended Complaint. An appropriate form of

 order is filed herewith.



 Dated: September 8, 2009




                                                          s/ Garrett E. Brown, Jr.
                                                        GARRETT E. BROWN, JR., U.S.D.J.




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